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Executive Summary

Gabapentin (Neurontin) was initially approved for the treatment of epilepsy (1993) and

subsequently approved for the treatment of postherpetic neuralgia (2002). Randomized,

controlled trials of gabapentin were conducted and submitted to the U.S. Food & Drug

Administration (FDA) to support these indications. Many of these randomized controlled

trials compared the efficacy of gabapentin at two or more dosages in order to establish a

dose-response relationship. Knowledge of a drug‟s dose-response relationship can be

used to establish the drug dosage (or dosage range) that provides the optimal balance

between therapeutic effect (improvement of the medical condition) and adverse effects.

There are particular study designs that are most suitable for establishing a scientifically

valid relationship between dosage and efficacy. Randomized, double-blind, controlled

trials that compare fixed doses of a drug (for a sufficient time that the endpoint is clearly

evident) provide the highest quality of evidence for a dose-response relationship. Study

designs that usually provide evidence of lesser quality include open-label studies (with

the potential for introduction of bias), studies with non-random assignment to different

dosages, and studies during which dosage is adjusted in a fixed-titration or optional-

titration manner. Gabapentin was studied using all of these study designs. The highest

quality evidence failed to establish a dose-related effect (i.e., continued improvement in

efficacy) at dosages above 1800 mg/day. This assertion is supported by my report, and by

FDA rulings.



Despite the lack of scientifically valid evidence to support a dose-related effect of

gabapentin at dosages above 1800 mg/day, Parke-Davis/Pfizer embarked on a marketing




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campaign that advocated the use of dosages up to (and above) 3600 mg/day. This “higher

dosage / higher efficacy” message was strategically discussed in Parke-Davis planning

documents and it was promoted via company-sponsored publications, continuing medical

education programs and materials, and via presentations/lectures that targeted Neurontin

prescribers. The “higher dosage / higher efficacy” message was incomplete and

misleading. It relied on lower quality evidence at the exclusion or minimization of higher

quality evidence. The effect was to increase Neurontin sales, to increase Parke-

Davis/Pfizer profits, and to increase the expenditures of payors (including patients).




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Background/qualifications of Dr. Alldredge

My name is Brian Alldredge. I am Professor of Clinical Pharmacy and Associate Dean

for Academic Affairs at the University of California, San Francisco (UCSF) School of

Pharmacy. I am also a Health Sciences Clinical Professor of Neurology at the UCSF

School of Medicine. My principal areas of research include: 1) the clinical pharmacology

and clinical use of drugs for the treatment of epilepsy; 2) pharmacogenomics; and, 3) the

safe and effective use of medications in the general population. I am a licensed

pharmacist.



I received a Bachelor‟s degree from UCLA in 1980 and a PharmD degree from UCSF in

1984. I completed a residency in clinical pharmacy practice at Long Beach Memorial

Hospital (California) in 1985. I have been a member of the faculty at UCSF for 23 years.

I was a Lecturer from 1985 to 1987; an Assistant Professor from 1987 to 1990; an

Associate Professor from 1990 to 1996; and, was promoted to the rank of Professor in

1996. A list of my publications is attached as Appendix A.



I have conducted research on a variety of topics related to the clinical use and clinical

pharmacology of drugs for the treatment of epilepsy and for a catastrophic epilepsy-

related condition known as status epilepticus. These studies include the use of phenytoin

for the treatment of alcohol withdrawal seizures, the pharmacokinetics of fosphenytoin in

patients with kidney and liver disease, and the use of lorazepam and diazepam for the

out-of-hospital treatment of status epilepticus. I have published numerous peer reviewed

journal articles, including two papers in The New England Journal of Medicine (one




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review and one primary research article) – which is considered one of the most respected

journals in medicine. I have published numerous book chapters, and I am an editor of

Applied Therapeutics: The Clinical Use of Drugs – a well-regarded textbook in

pharmacy/clinical pharmacology education. I am also an Associate Editor for AHRQ Web

M&M: Morbidity & Mortality Rounds on the Web.



I have served on many professional committees and task forces. Currently, I serve as a

consultant for an NIH-funded study of field administration of stroke treatment-

magnesium (the “FAST-MAG” study) and I serve on two National Institutes of Health,

Data Safety & Monitoring Boards (to review the safety and data integrity of NIH-

sponsored clinical studies). I am currently on the Executive Committee and a member of

the Professional Advisory Board for the Epilepsy Foundation (formerly, the Epilepsy

Foundation of America). I am a past president of the Epilepsy Society of San Francisco.



I am being compensated at a rate of $400 per hour for time spent on this work. I have not

testified at trial or via deposition as an expert witness for any other case in the past four

years. In preparing this report, I have relied upon my knowledge of the literature in

epilepsy and clinical pharmacology, PubMed (www.pubmed.gov) searches for high

quality clinical studies of gabapentin in epilepsy and pain conditions, and documents

provided to me by Greene & Hoffman (Appendix C).




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Introduction



I have been asked to render opinions on two primary questions:



    Is there reliable evidence to demonstrate enhanced efficacy of gabapentin

       (Neurontin) at doses above 1800 mg per day?

    Were marketing materials/practices used by Parke-Davis and Pfizer truthful and

       scientifically valid with regard to the efficacy of gabapentin (Neurontin) at doses

       above 1800 mg/day?



In addressing the first question above, I have focused on randomized, controlled clinical

trials of gabapentin for epilepsy and neuropathic pain conditions - including post-herpetic

neuralgia and diabetic peripheral neuropathy - as well as open-label studies that are

extensions of randomized, controlled trials, and studies highlighted in Neurontin

marketing materials used by the Parke-Davis/Pfizer to support the efficacy of doses

above 1800 mg/day.




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Section 1. Is there reliable evidence to demonstrate enhanced efficacy of gabapentin

(Neurontin) at doses above 1800 mg per day?



Establishing a dose-response relationship

Dose-response information describes the relationship between the amount of a drug that

is given to a person and the clinical effects of that drug on the individual. These “clinical

effects” can be therapeutic (i.e., an improvement in a medical condition) or toxic (i.e.,

adverse effects of the medication). Understanding the dose-response relationship of a

given medication is often of paramount importance in determining the safety and

effectiveness of a drug. For drugs that are shown to be safe and effective, prescribers

(e.g., physicians) rely on dose-response information to determine the optimal dosages for

use by their patients – that is, the dosage that is most likely to benefit the individual and

least likely to cause unacceptable adverse effects.



Regulatory bodies, such as the United States Food & Drug Administration (FDA), rely on

data provided by a drug‟s sponsor in order to guide a drug product‟s labeling (i.e., the

“package insert”), where information on optimal dosing is given. In its document,

“Guidance for Industry / Exposure-Response Relationships: Study Design, Data

Analysis, and Regulatory Applications,” the FDA states “[t]he more critical a role that

exposure-response information is to play in the establishment of efficacy, the more

critical it is that it be derived from an adequate and well-controlled study...” This

guideline document goes on to recommend that critical dose-response studies: “(1) have

prospectively defined hypothesis/objectives, (2) use an appropriate control group, (3) use




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randomization to ensure comparability of treatment groups and to minimize bias, (4) use

well-defined and reliable methods for assessing response variables, and (5) use other

techniques to minimize bias.”1 Thus, the standards for establishing a scientifically valid

dose-response relationship are quite high. In this regard, data derived from randomized,

double-blind, controlled clinical trials in which subjects are assigned to receive various

fixed doses of a drug (“fixed dose, parallel group studies”) are often of greatest value in

establishing a scientifically valid dose-response relationship. In general, open-label

studies, non-randomized studies, and studies that do not employ fixed doses are of much

lesser value in establishing a true dose-response relationship.



Gabapentin is a drug for which dose-response information is of value in guiding its

clinical use. If one assumes that some of the evidence for gabapentin efficacy (in epilepsy

and post-herpetic neuralgia) is valid, it appears that the drug is useful over a range of

doses – and, like most drugs, gabapentin can cause adverse effects. Understanding the

dose-response relationship for gabapentin would be expected to lead to improvements in

clinical care. For example, adverse effects might be minimized or avoided, clinical

efficacy might be improved, the time required to obtain an optimal response might be

shortened (providing faster relief from the medical condition being treated; or minimizing

the time required to determine that the drug is ineffective), and costs might be minimized

(e.g., unnecessary upward and downward dose titration could be avoided if the drug‟s

beneficial effects were known to plateau at a certain dosage).




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When a new drug is initially evaluated for efficacy and safety (in Phase III and some

Phase II trials), it is important that the drug doses to be studied are chosen carefully.

Doses used in these trials are determined by the drug‟s sponsor – that is, they are not

mandated or separately determined by an external regulatory agency (such as the FDA).

Sponsors select the doses for study after careful consideration of pharmacokinetic and

tolerability data derived from Phase I or Phase IIa human studies. Clearly, study sponsors

strive to choose the doses that will represent the optimal balance between efficacy and

tolerability. Using data collected from high quality clinical studies, a dose-response

relationship can be explored – and if determined, this information should be incorporated

into the product label (under the jurisdiction of FDA) and made available to prescribers

(via product labeling, publications, marketing materials, education sessions, etc.).

Section 1 of this report evaluates the dose-response relationship of gabapentin at dosages

of 1800 mg/day and above. Section 2 of this report evaluates the marketing practices of

Parke-Davis/Pfizer as it relates to dose-response issues addressed in Section 1.




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Randomized, double-blind studies that evaluate gabapentin at doses of 1800 mg/day or

greater



   Epilepsy

   In this section, I have restricted my analysis to randomized, double-blind trials of

   gabapentin, used at dosages of 1800 mg/day or higher, for the treatment of epilepsy.

   The relevant trials are:

             945-05

             945-77

             945-82

             945-88

   Table 1 includes a summary of the primary study design features and outcomes of the

   studies cited above. Three of the four trials evaluated the efficacy and safety of

   gabapentin for the treatment of medically-refractory (intractable) epilepsy (945-05,

   945-82, and 945-88); among these three trials, gabapentin was used as adjunctive

   therapy in one (945-05), and as monotherapy in two (945-77 and 945-88). One of the

   four trials evaluated the efficacy and safety of gabapentin monotherapy in patients

   with newly diagnosed epilepsy (945-77).



          945-05 [Research report 720-02801] – This 12-week, double-blind study

          compared the efficacy of gabapentin 1200 mg/day to placebo in patients with

          medically refractory partial seizures (a type of epileptic seizure that arises from a

          localized area of the brain). In addition, the dose-response characteristics of




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    gabapentin were explored by comparing responses among the 1200 mg/day

    gabapentin group and smaller groups of subjects that were randomly assigned to

    review 600 mg/day gabapentin or 1800 mg/day gabapentin. All gabapentin doses

    were given as a TID (three times daily) dosing regimen. Gabapentin 1200 mg/day

    was superior to placebo with regard to the reduction in partial seizures measured

    by the “response ratio2” in the “intent to treat3” population. The “responder rate”

    – defined as the percentage of patients with a reduction in seizure frequency of >

    50% - favored gabapentin 1200 mg/day over placebo, but the difference was not

    statistically significant. In the dose-response analysis for this trial, the response

    ratios and responder rates were determined for each of the three gabapentin

    dosage groups. The results demonstrated that the 600 mg/day and 1800 mg/day

    groups had greater reductions in partial seizures as compared to the 1200 mg/day

    group. Thus, a consistent dose-response relationship for gabapentin (i.e.,

    increasing efficacy with increasing dosage) was not demonstrated in this study.

    However, this trial did not evaluate gabapentin dosages above 1800 mg/day;

    therefore, the question of gabapentin efficacy at doses above 1800 mg/day cannot

    be addressed from these results.



    945-77 [RR 720-03779] – This randomized, double-blind study compared three

    doses of gabapentin (300, 900, and 1800 mg/day) and open-label carbamazepine

    in patients with newly diagnosed epilepsy. Carbamazepine is an antiepileptic drug

    that is commonly used for the treatment of epilepsy (specifically, partial and

    secondarily generalized tonic-clonic seizures - the same types of seizures that are




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    treated by gabapentin). The primary efficacy criterion used to determine the

    success or failure of gabapentin was “time to exit” after beginning study

    treatment. In this design, patients are maintained on study treatment until they

    experience one or more of the pre-specified “exit” criteria that indicate drug

    failure. Examples of exit criteria include status epilepticus (a life-threatening

    condition characterized by prolonged or repeated epileptic seizures), and

    occurrence of three or more partial seizures. Thus, the more effective an

    antiepileptic drug is, the longer a patient will remain on study treatment – and, the

    longer the “time to exit” interval. Results showed that the “time to exit” was

    significantly longer for the 900 mg/day and 1800 mg/day gabapentin groups as

    compared to the 300 mg/day gabapentin group. Thus, 900 mg/day and 1800

    mg/day gabapentin were demonstrated to be effective. In the study analysis, the

    900 mg/day and 1800 mg/day gabapentin groups were not directly compared with

    regard to the “time to exit” criterion. However, Figure 1 (Appendix B - Kaplan-

    Meier Estimate of Time to Exit: ITT Population, Gabapentin Dosage Groups

    Only) shows that, at any one point in time during the study, patients in the 1800

    mg/day group were either equally or more likely to exit the study due to an exit

    (i.e., “treatment failure”) event. Because this trial did not include gabapentin

    dosages above 1800 mg/day, the efficacy of the drug above this dosage limit

    cannot be addressed.



    945-82 [RR 720-03495] – This randomized, double-blind, “dose-controlled” (a

    given drug dosage serves as a control, as opposed to a placebo group control)




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    study evaluated the efficacy of gabapentin monotherapy at doses of 600, 1200 and

    2400 mg/day in patients with intractable partial-onset seizures. Subjects were

    taking 1 or 2 marketed antiepileptic medications at the time of randomization,

    when gabapentin was added to their regimen. Then, “baseline” antiepileptic

    medications were gradually tapered and discontinued, after which patients

    remained on 16 weeks of treatment with gabapentin monotherapy (either 600,

    1200 or 2400 mg/day). Patients exited the trial early if they experienced one of

    the pre-specified treatment failure events (e.g., an episode of status epilepticus or

    a pre-specified increase in the severity or frequency of seizures). Thus, the

    primary efficacy endpoint was “time to exit” (similar to 945-77 discussed above).

    Unlike the studies discussed above, a direct comparison between the various

    gabapentin dosage groups was included in the primary analysis plan. Results of

    the trial were that there were no differences between the 600, 1200 and 2400

    mg/day gabapentin groups with regard to the primary efficacy outcome measure,

    “time to exit”. The percentage of patients in each group who completed the study

    without a failure event (a secondary outcome endpoint of the trial) was 15% in the

    600 mg/day group, 26% in the 1200 mg/day group, and 19% in the 2400 mg/day

    group. Thus, the lowest and highest dosage groups had the lowest success rates,

    and the intermediate dose had the highest success rate. Overall, this trial did not

    demonstrate efficacy of gabapentin as monotherapy in this population; nor, did it

    demonstrate a dose-response relationship for the drug. In this trial, gabapentin

    blood levels were measured; a 3-fold difference between the different dosage

    groups was found. Analysis of concentration-response data is often an important




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    aspect of the evaluation of a dose-response relationship – particularly for drugs

    that display significant inter-individual variability in blood concentrations at a

    fixed dose. For example, one might fail to detect the effect of a given drug/dose

    combination if many of the study subjects were “poor absorbers” of the

    medication. In study 945-82, a 3-fold difference in gabapentin concentrations

    between groups was not sufficient to detect a difference in the study endpoint.



    945-88 [RR 720-03675] – This randomized, double-blind, study evaluated the

    effectiveness of gabapentin monotherapy in patients with medically refractory

    partial epilepsy who were hospitalized and who had their previous antiepileptic

    drug therapy removed. Patients were randomly assigned to receive either 300

    mg/day or 3600 mg/day gabapentin and they were followed for an 8-day study

    period. The primary efficacy criterion was “time to exit” (similar to 945-77 and

    945-82). Patients who received 3600 mg/day gabapentin remained on

    monotherapy significantly longer than those who received 300 mg/day. Thus, the

    study demonstrated efficacy of gabapentin as monotherapy in this short inpatient

    trial. The significance of these results with regard to supporting a claim of

    efficacy for gabapentin monotherapy in refractory epilepsy has been questioned

    because of the unusually short duration of the trial. Whether these short-term

    results can be generalized to the chronic treatment of epilepsy is unknown. This

    concern was voiced in Dr. Paul Leber‟s (Director, Division of

    Neuropharmacological Drug Products, Office of Drug Evaluation, Center for

    Drug Effectiveness and Research, FDA) review of these study results...“[w]hile




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    Study 945-088 does provide „proof of principle‟ support for a conclusion that

    Neurontin has some capacity to reduce the incidence of partial seizures in patients

    with chronic recidivistic epilepsy, the time interval investigated (i.e., 8 days) is so

    short that the finding has little, if any, relevance to the proposed condition of use

    of the marketed product either in chronic or newly diagnosed patients.”

    [WLC_FRANKLIN_0000090129] Study 945-88 also does not illuminate the

    issue of a dose-response relationship for gabapentin at doses greater than 1800

    mg/day, since 3600 mg/day was the only gabapentin dosage shown to be effective

    in this trial.



 Neuropathic Pain Conditions

 In this section, I have restricted my analysis to randomized, double-blind trials of

 gabapentin, used at dosages of 1800 mg/day or higher, for the treatment of

 neuropathic pain conditions. The relevant trials are:

        945-210

        945-211

        945-224

        945-295

        945-306

        A945-1008

 Table 1 includes a summary of the primary study design features and outcomes of the

 studies cited above. Three of these trials evaluate the efficacy of gabapentin in the

 treatment of diabetic peripheral neuropathy (945-224, 945-210, and A945-1008); two



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 trials evaluate the efficacy of gabapentin in post-herpetic neuralgia (945-211 and 945-

 295); and one trial evaluated the efficacy of gabapentin for neuropathic pain from

 various causes (945-306).



 945-210 [RR 720-03908] – This 12-week, randomized, double-blind study compared

 the efficacy of gabapentin (900 to 3600 mg/day) to placebo in patients with painful

 diabetic peripheral neuropathy. During the first 4 weeks of double-blind treatment,

 gabapentin (or matching placebo) was titrated from 900 mg/day to 1800, 2400, and

 then 3600 mg/day (given as a three times daily regimen). If adverse effects occurred,

 the dose of gabapentin (or placebo) was reduced. Thus, gabapentin was titrated to the

 maximum well tolerated dosage based on tolerability (not based on efficacy).4

 During the second 4-week period of double-blind treatment, the maximum well

 tolerated dosage of gabapentin was maintained. The primary efficacy parameter was

 the mean pain score from daily pain diaries at endpoint (the last 7 daily entries while

 on study medication). The pain score was derived from an 11-point Likert scale in

 which 0 represented “no pain” and 10 represented the “worst pain possible.” The

 published report of this study, by Backonja, et al.,5 reported a significant

 improvement in mean daily pain score at study endpoint in the gabapentin group

 compared to the placebo group (intent-to-treat analysis; p<0001). However, the

 validity of the primary study results appear to have been compromised by unblinding

 of study patients and investigators related to medication adverse effects (a critical

 issue in studies of pain, a subjective endpoint). Although the study authors performed

 additional analyses to address this limitation, their techniques have been criticized




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 and the expert consultant report prepared by Dr. Nicholas Jewell6 criticizes the

 original study analyses and, upon a more thorough independent reanalysis, finds that

 the treatment effect seen in this study disappears when data after the occurrence of

 central nervous system adverse effects are eliminated. Nevertheless, if one assumes

 that the study was able to determine the efficacy of gabapentin in this population, the

 dose-response relationship of gabapentin in this condition could not be addressed as a

 single dose of gabapentin (3600 mg/day) was used. The study sponsors acknowledge

 this limitation in minutes of a meeting between Parke-Davis representatives and the

 French Drug Agency (June 18, 1998)...“[t]here was only one dosage of Neurontin in

 this trial, it is thus difficult to analyze the impact of the dosage on the efficacy.”

 [PFIZER_LLAMOREAUX_0009058] Thus, the study design of 945-210 is adequate

 to gain experience with gabapentin at higher doses, but it is not sufficient for

 establishing a dose-response relationship.



 945-211 [RR 995-00070] – This 8-week randomized, double-blind study compared

 the efficacy of gabapentin to placebo for the treatment of post-herpetic neuralgia. As

 in study 945-210, gabapentin (or matching placebo) was sequentially titrated through

 a range of dosages (900, 1800, 2400 mg/day) until a dosage of 3600 mg/day was

 reached, or the highest well tolerated dosage below 3600 mg/day. This “forced-

 titration” phase was 4-weeks in duration. During the second 4-week period of double-

 blind treatment, the maximum well tolerated dosage of gabapentin was maintained.

 As mentioned previously, this forced-titration design – to a single gabapentin dosage,

 or to the next highest dosage based on tolerability – is insufficient to establish a dose-




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 response relationship for the drug. The primary efficacy measurement was the

 change from baseline in the average daily pain rating scores (similar to 945-210). The

 pain score was derived from an 11-point Likert scale in which 0 represented “no

 pain” and 10 represented the “worst pain possible.” Results showed that gabapentin-

 treated patients experienced a statistically significant reduction in the mean pain score

 from baseline relative to placebo-treated patients (p=0.001). However, as for study

 945-210, the study design was insufficient to determine the dose-response

 relationship of gabapentin since a single final dosage (3600 mg/day) was used in the

 trial. Thus, this study does not provide substantial evidence of increased efficacy of

 gabapentin for post-herpetic neuralgia at doses above 1800 mg/day.



 945-224 [RR 720-04130]– This 7-week randomized, double-blind trial compared the

 efficacy of gabapentin 600 mg/day, 1200 mg/day, and 2400 mg/day to placebo for the

 treatment of painful diabetic peripheral neuropathy. The study consisted of a 3-week

 dose titration period, followed by a 4-week fixed-dose period during which

 gabapentin (at 600, 1200 or 2400 mg/day) or placebo was maintained. The primary

 efficacy measurement was the change from baseline in the average daily pain rating

 scores. The pain score was derived from an 11-point Likert scale in which 0

 represented “no pain” and 10 represented the “worst pain possible.” Results

 demonstrated no statistically significant difference between any of the gabapentin

 dosage groups and the placebo group for the primary efficacy parameter (p>0.05

 when comparing each dose group to placebo). To the extent that some of the

 secondary study endpoints demonstrated a difference between gabapentin groups and




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 placebo, there was no consistent dose-related effect noted (i.e., 1200 mg/day

 gabapentin performed better than placebo on some selected measures, but for no

 secondary endpoint was 2400 mg/day shown to be superior to 1200 mg/day. The

 “fixed-dose parallel group” design of this trial is appropriate to gather information to

 inform the dose-response effect of gabapentin. However, the results of this trial

 clearly demonstrate that gabapentin was not effective. Thus no dose-response effect

 was seen, and this study does not provide substantial evidence of increased efficacy

 of gabapentin for painful diabetic peripheral neuropathy at doses above 1800 mg/day.



 945-295 [RR 430-00124] – This 7-week randomized, double-blind trial compared the

 efficacy of gabapentin 1800 mg/day, and 2400 mg/day to placebo for the treatment of

 post-herpetic neuralgia. The “fixed-dose parallel group” design of this trial was

 employed to gather data regarding the dose-response effect of gabapentin. The

 primary efficacy measurement was the change from baseline in the average daily pain

 rating scores. The pain score was derived from an 11-point Likert scale in which 0

 represented “no pain” and 10 represented the “worst pain possible.” Results showed

 that gabapentin-treated patients experienced a statistically significant reduction in the

 mean pain score from baseline (p<0.01) relative to placebo-treated patients for both

 the 1800 mg/day and 2400 mg/day groups. The mean reduction in pain score from

 baseline was -34.5% in the 1800 mg/day gabapentin group, and -34.4% in the 2400

 mg/day gabapentin group. Thus, the two dosage groups (while not compared

 statistically for difference) are clearly similar. Comparing the two gabapentin dosage

 groups with regard to the clinically relevant “responder rate” (the percentage of




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 patients with a reduction in mean pain score of > 50%) also shows that responses

 were similar for the 1800 mg/day (32% responder rate) and 2400 mg/day (34%

 responder rate) groups. Thus, no dose-response effect for gabapentin was found, and

 this study does not provide substantial evidence of increased efficacy of gabapentin

 for post-herpetic neuralgia at doses above 1800 mg/day.



 945-306 [RR 430-00125] – This 8-week randomized, double-blind study compared

 the efficacy of gabapentin to placebo for the treatment of neuropathic pain. After a 1-

 week screening interval, eligible patients were given 900 mg/day gabapentin (or

 matching placebo). Over a 5-week titration period, patients who did not demonstrate

 50% or greater pain reduction were increased to 1800 mg/day – and again, to 2400

 mg/day if necessary. Thus, gabapentin dosage adjustment was optional and covered a

 range of 900 to 2400 mg/day. Overall, double-blind therapy was received for a total

 of 8 weeks (5 weeks titration period; 3 weeks post-titration period). The primary

 efficacy measurement was the change from baseline in the average daily pain rating

 scores (similar to 945-210 and 945-211). The pain score was derived from an 11-

 point Likert scale in which 0 represented “no pain” and 10 represented the “worst

 pain possible.” Results showed that gabapentin was superior to placebo with regard

 to the primary efficacy endpoint (p=0.048). Comparing week-to-week mean pain

 scores between the two groups, gabapentin was superior to placebo during Weeks 1,

 3, 4, 5 and 6 – but, there was no significant difference between groups during Weeks

 2, 7 and 8. The “optional dose titration” design of this study precludes any

 conclusions regarding gabapentin dose-response relationship. This point also was




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 acknowledged in the manuscript by Serpell, et al., (2002),7which states... “[d]ue to the

 design of the study, it is not possible to draw any conclusions regarding a dose-

 response effect of gabapentin.” Thus, this study does not provide substantial evidence

 of increased efficacy of gabapentin for neuropathic pain at doses above 1800 mg/day.



 A945-1008 [PFIZER_LKNAPP_0062214 and PFIZER_LCASTRO_0008182] – This

 15-week randomized, double-blind trial compared the efficacy of gabapentin to

 placebo for efficacy, quality of life, and safety in painful diabetic peripheral

 neuropathy. After a 1-week placebo “lead-in” phase, subjects were randomly assigned

 to gabapentin 3600 mg/day or placebo. During a 14-day dose titration phase, the

 dosage of gabapentin (or matching placebo) was increased to 3600 mg/day. No

 dosage adjustments were allowed and subjects who could not tolerate the study

 medication were withdrawn. Subjects were followed for 12 weeks during a double-

 blind maintenance treatment phase. The primary efficacy parameter was the mean

 pain score from daily pain diaries at endpoint (the last 7 daily entries while on study

 medication). In the analysis by the study sponsor, gabapentin was superior to placebo

 with regard to the primary efficacy parameter (p=0.0008). The inclusion of a single

 gabapentin dosage and “forced dose titration” design of this study precludes any

 conclusions regarding gabapentin dose-response relationship. Thus, this study does

 not provide substantial evidence of increased efficacy of gabapentin for neuropathic

 pain at doses above 1800 mg/day.




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Open-label studies that evaluate gabapentin at doses of 1800 mg/day or greater



   Epilepsy

   In this section, I restrict my analysis to selected open-label trials of gabapentin, used

   at dosages of 1800 mg/day or higher, for the treatment of epilepsy. The studies

   reviewed are:

           945-05 (open-label extension of 945-05)

           945-83 (open-label extension of 945-82)

           945-193 and 945-200 (also known as the Neurontin “STEPS” study)

   945-05 (open-label extension) and 945-83 are included because they were open-label

   continuations of randomized controlled trials summarized above; 945-193 and 945-

   200 are included because, as the “Neurontin STEPS” study, they were used

   extensively in gabapentin marketing. Another open-label study of gabapentin used for

   marketing purposes was the NEON study. This study was not provided to me and it

   was not reviewed.



   In general, open-label studies are subject to the introduction of bias related to the lack

   of randomization, and to the patient‟s and investigator‟s knowledge of treatment

   assignment. These limitations reduce the capacity of such studies to establish a “true”

   dose-response relationship.



   945-05 (open-label extension) [RR 720-02816] – This was a 12-week open-label

   (unblinded) continuation of 945-05 in which all study subjects were given an




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 opportunity to continue or begin treatment with gabapentin. In this optional open-

 label phase, patients were titrated to 1200 mg/day gabapentin and subsequent dosage

 adjustments were made at the discretion of the investigator (treating physician) in the

 range of 600 to 2400 mg/day. Thus, the doses of gabapentin were not titrated to any

 explicit fixed endpoint either related to daily dosage or to a specific clinical outcome.

 As in 945-05, the primary efficacy endpoint was reduction in partial seizures from

 baseline to treatment. Results demonstrated that patients originally assigned to

 placebo in the double-blind phase and treated with open-label gabapentin in the open-

 label phase experienced a reduction in seizures as measured by response ratio and

 responder rate. In those patients who received one of three gabapentin dosages (600,

 1200 or 1800 mg/day) in the double-blind phase and were then treated with 600 to

 2400 mg/day gabapentin in the open-label phase, the response ratio2 values were

 similar (-0.139 in the double-blind phase and -0.136 in open-label phase; where a

 more negative value indicates greater reduction in seizures. In this same group of

 patients (gabapentin in both double-blind and open-label phases), responder rates

 were also similar between the two phases (19% in the double-blind phase and 20% in

 the open-label phase). These results do not inform the dose-response relationship for

 gabapentin at doses above 1800 mg/day. In addition to the limitations of the study

 design identified above (lack of randomization, introduction of bias), patients were

 neither titrated to fixed doses of gabapentin nor were they titrated to a pre-specified

 clinical endpoint.




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 945-83 [RR 720-03497] - This was an open-label extension of gabapentin trial 945-

 82. In this open-label extension phase, patients who had achieved monotherapy in the

 double-blind phase were titrated to a “maximum well-tolerated dose” of gabapentin in

 the range of 600 to 3600 mg/day. Patients who did not achieve monotherapy in the

 double-blind phase were eligible to receive open-label gabapentin as an adjunct to

 their current 1 or 2 antiseizure drugs and were then titrated to a maximum well-

 tolerated gabapentin dosage in the range of 600 to 3600 mg/day; baseline antiepileptic

 drugs were then tapered with the goal of achieving gabapentin monotherapy. For all

 patients, further upward dosage adjustments could be made after 12 weeks at 3600

 mg/day; at the discretion of the investigator, gabapentin dosages could be increased to

 4800 mg/day. In this study, the majority of monotherapy exposure was at a dosage of

 3600 mg/day or above. The study design – in which investigators were instructed to

 titrate gabapentin to the highest dosage that did not cause unacceptable side effects –

 is sufficient to gain clinical experience at higher doses – and, to some extent, to

 inform the tolerability of gabapentin at higher doses. However, it is not sufficient to

 illuminate the dose-response relationship for gabapentin as it relates to efficacy. The

 potential for introduction of bias, lack of titration to a fixed dose based on a pre-

 specified efficacy criterion, non-standardized length of follow-up on final dosage, and

 non-random assignment to treatment all serve to limit the conclusions that might be

 drawn from this study. The design of trial 945-82 (the double-blind phase) was much

 stronger in its ability to draw conclusions regarding a dose-response relationship –

 and, as discussed above, this trial found no significant differences between dosage

 groups in the primary efficacy parameter, time to exit.




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 945-193 and 945-200 (STEPS study) [RR 995-00057] – This 16-week open-label,

 Phase IV, postmarketing study evaluated the safety and tolerability of gabapentin as

 adjunctive treatment of medically intractable partial seizures. In a subset of patients,

 the effect of gabapentin on quality-of-life was evaluated and, in a subset of patients,

 the relationship between gabapentin dosage and serum concentration (blood level)

 was also evaluated. Open-label treatment with gabapentin was initiated at 900 mg/day

 (after a 3-day titration), and thereafter, the gabapentin dosage was increased to 1800,

 2400 and 3600 mg/day if the patient experienced any seizures at least 2 days after

 reaching the previous dosage, or if the investigator thought it was necessary. Thus,

 this was an “optional dose titration” design. Descriptive statistics were used in all

 analyses. The total number of patients enrolled was 2806; 281 patients were available

 for inclusion in the primary safety analysis, which was adverse effects at gabapentin

 doses < 1800 mg/day and > 1800 mg/day. Results showed that treatment emergent

 adverse effects occurred in 32% of patients who received < 1800 mg/day and 28% of

 patients who received > 1800 mg/day. Seizure analyses were performed on 1064

 patients; 60.1% of patients had a reduction in seizures from baseline. Quality of life

 (as measured by the QOLIE-31 instrument) improved from baseline. A number of

 other analyses were performed. Given the open-label design, single treatment, non-

 randomized assignment to different dosages, and optional dose titration features of

 this study, it does not meet criteria for contributing valid/unbiased data regarding the

 dose-response relationship of gabapentin. Thus, this study does not provide

 substantial evidence of increased efficacy of gabapentin for epilepsy at doses above




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 1800 mg/day. It is interesting to note that the percentage change in seizure frequency

 in the gabapentin < 1800 mg/day population (-71%) was less than the percentage

 change in seizure frequency in the gabapentin > 1800 mg/day population (-49%)

 [page 007050 of RR 995-00057]. This comparison of <1800 mg/day and > 1800

 mg/day groups parallels the prespecified group comparisons used for the adverse

 effects analyses.



 Pain Conditions

 In this section, I restrict my analysis to one open-label trial of gabapentin, used at

 dosages of 1800 mg/day or higher, for the treatment of neuropathic pain. The study

 reviewed is:

        945-411



 945-411 [RR 720-30154] – This randomized, open-label study evaluated the efficacy

 of gabapentin at two dosages for the treatment of pain from diabetic peripheral

 neuropathy. Patients were randomly assigned to receive either 900 mg/day gabapentin

 as a fixed dose (“fixed dose group”) for 7 weeks, or optional titration of gabapentin to

 dosages up to 3600 mg/day (“titration group”). In the latter group, investigators

 increased gabapentin dosages over 4 weeks until a 50% or greater reduction in pain

 was achieved, or the maximal dose of 3600 mg/day was reached. This final dosage

 was them maintained for at least 3 weeks. As in all other epilepsy and pain studies

 cited above, gabapentin was given on a three times daily (TID) schedule. The primary

 efficacy measurement was the percent change from baseline in the mean daily pain




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 rating scores at study endpoint. The pain score was derived from an 11-point Likert

 scale in which 0 represented “no pain” and 10 represented the “worst pain possible.”

 Results demonstrated that the mean pain scores at endpoint (from baseline; intent-to-

 treat population) showed greater improvement in the gabapentin “titration group”

 than in the gabapentin “fixed dose” group (p<0.001). The open-label design of this

 trial, as well as the dosing comparisons (“optional titration” vs. “fixed-dose” control

 group), is not adequate for establishing a dose-response effect for gabapentin at

 dosages above 900 mg/day. Thus, this study does not provide substantial evidence of

 increased efficacy of gabapentin for neuropathic pain at doses above 1800 mg/day.

 This study (also known as the Latin American Diabetic Peripheral Neuropathy

 [LADPN] study), was written for publication by Medical Action Communications, a

 private company hired by Pfizer to draft the manuscript. In an e-mail message (dated

 10/31/2001) from Dr. Lloyd Knapp (Pfizer) to Dr. Elizabeth Mutisya (Pfizer)

 regarding the study 945-411 manuscript, Dr. Knapp recommends that Pfizer “select”

 (emphasis added) Dr. Francisco Gomez-Perez as lead author as he is the “head of the

 most famous Diabetic Clinic in the country, and in an Institution as Institito Nacional

 De Ciencia Medicas y Nutricion that is a high respected Institution for the Quality of

 the Medical Staff...”; “[a]lso Dr. Gomez Perez is a well known an [sic] respected

 Diabetologist. This will help with the commercial aspect of the indication.”

 [Pfizer_LKnapp_26472] In her response, Dr. Elizabeth Mutisya (Pfizer) states, “[w]e

 are all in agreement that Francisco Gomez Perez should be the lead author.” The

 manuscript was subsequently published in the British Journal of Diabetes and

 Vascular Disease (2004).8




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Summary of randomized, double-blind studies and open-label studies that evaluate

gabapentin at doses of 1800 mg/day or greater



   As they relate to the determination of a dose-response relationship for gabapentin, the

   studies reviewed above fall into one of three general categories:



          Fixed-dose, parallel group studies – in which patients are randomly assigned

          to several fixed dose groups, and followed in parallel (i.e., they do not “cross

          over” to another fixed dose at some other time during the trial).



          Forced titration studies – in which patients move through a series of

          escalating doses.



          Optional titration studies – in which patients are titrated, at the discretion of

          the investigator, until an endpoint is reached.



   While there are other study designs that can be used to establish a dose-response

   relationship, these are the study designs used by Parke-Davis/Pfizer in the clinical

   evaluation of gabapentin (at dosages of 1800 mg/day or higher) for the treatment of

   epilepsy and neuropathic pain conditions. Of the three designs employed here, the

   fixed-dose, parallel group study is the most appropriate design to establish a dose-

   response effect.9 Studies 945-05, 945-77, 945-82, 945-88, 945-224, and 945-295 are




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 examples of this study design. As can be seen from Table 1, only 4 of these studies

 used doses above 1800 mg/day (945-82, 945-88, 945-224 and 945-295). Results of

 all four of these studies fail to support a dose-response relationship for gabapentin at

 dosages above 1800 mg/day. Furthermore, two of the four studies failed to

 demonstrate efficacy of gabapentin, at any dosage, for the condition studied (945-82

 and 945-224).



 Forced titration study designs are a suboptimal choice for establishing a dose-

 response relationship.9 Studies 945-210, 945-211 and A945-1008 are examples of this

 design. In some instances, this design can provide an initial estimate of dose-response

 if there is no carryover effect (i.e., the effect of Dose A doesn‟t “carry over” to the

 time when Dose B is begun). However, for all of the conditions studied here

 (epilepsy, neuropathic pain conditions), the clinical endpoints of seizure reduction, or

 pain reduction, are not obtained immediately (as it might be in a trial measuring drug

 effects on blood pressure, for example). Instead, one needs to wait for an interval of

 weeks (at a minimum) to establish the effect of an individual dosage (as is done in the

 fixed-dose, parallel-group studies mentioned above). Since the forced titration study

 design used above requires upward dosage adjustments at intervals of days (e.g.,

 every week), they cannot provide useful dose-response information at doses “along

 the way” to the dosage titration endpoint. Thus, studies 945-210, 945-211, and A945-

 1008 do not provide useful information for establishing a dose-response relationship

 for gabapentin at dosages above 1800 mg/day.




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   Optional titration studies are also a poor choice for establishing a dose-response

   relationship. Studies 945-306 and 945-411, and all open-label studies cited above, are

   examples of this design. Like forced titration study designs, this type of study has the

   potential to provide some dose-response information (albeit, of lesser quality than

   fixed-dose parallel group studies) if there is no carryover effect. But, as discussed

   above, there is the potential for significant carryover effect when doses are adjusted at

   short intervals (e.g., 7 days or less) for the treatment of epilepsy or pain conditions. In

   these conditions, weeks of treatment at a stable dosage are necessary to establish the

   clinically relevant effects of seizure or pain reduction. Thus, studies 945-310, 945-

   411, and all open-label studies (which have the added limitation of the potential for

   introduction of bias) do not provide useful information for establishing a dose-

   response relationship for gabapentin at dosages above 1800 mg/day.



FDA Analyses

   Parke-Davis/Pfizer made at least two attempts to revise the product labeling of

   Neurontin in order to increase the effective dosage range of gabapentin to 3600

   mg/day – for the epilepsy indication in 1997, [WLC_FRANKLIN_0000090128] and

   for the pain indication in 2002 [Pfizer_LCastro_0078505]. In both instances, the FDA

   denied the request. In his letter of 8/26/97 to Parke-Davis, Dr. Paul Leber (Director,

   Division of Neuropharmacological Drug Products, FDA) states “the evidence from

   controlled trials fails to provide evidence that higher doses of Neurontin are more

   effective than those recommended” (which was 900-1800 mg/day for epilepsy – the

   only approved indication for gabapentin at that time). In the FDA document, “HFD-




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   120 Labeling Version #2 dated May 16, 2002” [Pfizer_MYoder_0000843], the

   agency inserts the statement, “[a]dditional benefit of using doses greater than 1800

   mg/day was not demonstrated” – in reference to controlled trial data to support the

   indication of post-herpetic neuralgia. As is clearly evident from correspondence

   between the FDA and Parke-Davis/Pfizer, the agency relied upon high-quality,

   randomized controlled trials to support claims of dose-related efficacy for gabapentin.

   Clearly, the claim of increased efficacy for gabapentin at doses above 1800 mg/day

   was not supportable by the available evidence.



Conclusion

There is insufficient evidence to demonstrate enhanced efficacy of gabapentin

(Neurontin) at doses above 1800 mg per day.




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Table 1. Summary of key gabapentin trials: design and outcomes

Study        Condition       Study Design      Groups-         Results*                  Evidence   Dose-response
Number       Treated                           Target                                     Level**   relationship
(author)                                       Doses                                                demonstrated at
                                               (mg/d)                                               doses > 1800
                                                                                                    mg/day?
945-05       Epilepsy        Randomized,       PLC             GBP-1200 superior to         A       No
(US GBP      (adjunctive     double-blind;     GBP-600         PLC in response ratio,               (in addition, dose-
Study        treatment of    fixed dose,       GBP-1200        responder rate and %                 response relationship
Group        intractable     parallel group.   GBP-1800        reduction in seizure                 not demonstrated
No.5,        partial                                           rate from baseline (P).              between 600 and
1993)10      seizures)                                         Dose-response                        1800 mg/d)
                                                               evaluation: GBP-600
                                                               and GBP-1800 more
                                                               effective than GBP-
                                                               1200
945-05 –     Epilepsy        OL extension      GBP- 600        Seizure frequency            C       No
OL           (same as 945-   of 945-05;        to 2400         improved in patients                 (OL design did not
extension    05)             discretionary                     switched from PLC to                 detect consistent
                             titration of                      GBP; Seizure                         improvements when
                             GBP to doses                      frequency unchanged                  prescribers were
                             of 600-2400;                      in GBP-GBP group                     given the discretion of
                             optional dose                     (where DB dose was                   using GBP-2400 [vs.
                             titration.                        1200 and OL dose                     GBP-1200 in DB trial])
                                                               ranged from 600-
                                                               2400)
945-77       Epilepsy        Randomized,       GBP-300         GBP-900 and GBP-             A       No
(Chadwick,   (newly          double-blind      GBP-900         1800 superior to                     (GBP-900 not directly
1998)11      diagnosed       (included OL      GBP-1800        GBP-300 in time to                   compared to GBP-
             partial         CBZ arm);         (OL CBZ-        exit (P)                             1800 but no clear
             seizures)       fixed dose,       600                                                  differences seen)
                             parallel group.
945-82       Epilepsy        Randomized,       GBP-600         No differences               A       No
(Beydoun,    (uncontrolled   double-blind,     GBP-1200        between groups in                    (3-fold difference in
1997)12      CP, SGTC)       dose-             GBP-2400        time to exit (P); GBP-               blood concentrations
                             response;                         1200 group had                       found; but, no
                             conversion to                     higher success rate                  differences in efficacy
                             monotherapy;                      (26%) than GBP-600                   endpoints)
                             fixed dose,                       (15%) and GBP-2400
                             parallel group.                   (19%) (S; non-
                                                               significant)
945-83       Epilepsy        OL extension      GBP-up to       Majority of                  C       No
             (same as 945-   of 945-82;        3600 or         monotherapy                          (titration design [“to
             82)             GBP titrated      4800            exposure days (57%)                  maximum well-
                             to “maximum                       were at dosages of                   tolerated dose”] does
                             well-tolerated                    3600 mg/d or above.                  not allow for
                             dose”;                            GBP safe and well-                   comparison of
                             optional dose                     tolerated at doses up                efficacy between
                             titration.                        to 4800 mg/d                         different GBP doses)
945-88       Epilepsy        Randomized,       GBP-300         GBP-3600 superior to         A       No
(Bergey,     (refractory     double-blind;     GBP-3600        GBP-300 in mean
1997)13      partial         inpatient                         time to exit (P) and in
             seizures)       monotherapy;                      percentage of patients
                             fixed dose,                       who completed the 8-
                             parallel group.                   day study (S)




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Study        Condition     Study Design        Groups-           Results*                  Evidence   Dose-response
Number       Treated                           Target                                       Level**   relationship
(author)                                       Doses                                                  demonstrated at
                                               (mg/d)                                                 doses > 1800
                                                                                                      mg/day?
945-193      Epilepsy      Open-label          Optional          32% patients who             C       No
and 945-     (adjunctive   study of safety     dose              received GBP<1800                    (design does not
200          treatment;    and                 titration of      and 28% patients who                 allow efficacy
(McLean,     refractory    tolerability;       GBP up to         received                             comparisons between
1999)14      partial       optional dose       3600              GBP>1800                             various GBP
             seizures)     titration.          mg/day            experienced                          dosages)
                                                                 treatment emergent
                                                                 adverse effects.
                                                                 Seizure frequency
                                                                 declined from
                                                                 baseline in 60%
                                                                 patients. Percentage
                                                                 change in seizure
                                                                 frequency from
                                                                 baseline was lower in
                                                                 the GBP<1800 (-71%)
                                                                 group than in the
                                                                 GBP>1800 group (-
                                                                 49%). Only
                                                                 descriptive statistics
                                                                 were used.
945-210      DPN           Randomized,         PLC               GBP superior to PLC          A       No
(Backonja,                 double-blind,       GBP-900 to        in mean weekly pain                  (trial design does not
1998)5                     placebo-            3600 (max.        score @ Week 8 (P),                  allow efficacy
                           controlled trial;   tolerated         in sleep interference                comparison between
                           forced dose         dose)             scores (S), and in                   various GBP
                           titration.                            other secondary                      dosages)
                                                                 endpoints
945-211      PHN           Randomized,         PLC               GBP superior to PLC          A       No
(Rowbo-                    double-blind,       GBP-up to         in change from                       (trial design does not
tham,                      placebo-            3600              baseline in average                  all for efficacy
1998)15                    controlled trial;                     daily pain rating score              comparisons between
                           forced dose                           (P)                                  various GBP
                           titration.                                                                 dosages)
945-224      DPN           Randomized,         PLC               No difference                A       No
                           double-blind,       GBP-600           between PLC and any                  (some GBP arms
                           placebo-            GBP-1200          of the three GBP                     showed superiority
                           controlled trial;   GBP-2400          treatment groups in                  over placebo for a
                           fixed dose,                           mean pain score @                    selected minority of
                           parallel group.                       week 7 (P)                           secondary outcomes,
                                                                                                      but no dose-effect
                                                                                                      was apparent)
945-295      PHN           Randomized,         PLC               GBP superior to PLC          A       No
(Rice,                     double-blind,       GBP-1800          in percentage                        (comparisons of GBP-
2001)16                    placebo-            GBP-2400          improvements (from                   1800 to GBP-2400
                           controlled trial;                     baseline) for mean                   were not made with
                           fixed dose,                           weekly pain score @                  respect to primary or
                           parallel group.                       Week 7 (P); PLC (-                   secondary endpoints;
                                                                 15.7%) vs. GBP-1800                  GBP-1800 and GBP-
                                                                 (-34.5%) and GBP-                    2400 appear to
                                                                 2400 (-34.4%)                        equally effective
945-306      Neuropathic   Randomized,         PLC               GBP superior to PLC          A       No
(Serpell,    pain          double-blind,       GBP-900 to        in change of mean                    (“Due to the design of
2002)17                    placebo-            2400              pain score from                      the study, it is not
                           controlled trial;   (doses            baseline to Week 8                   possible to draw any
                           optional dose       increased if      (p=0.048); week-by-                  conclusions regarding
                           titration           pain              week analysis                        a dose-response
                                               persisted)        showed inconsistent                  effect of gabapentin”
                                                                 differences between                  – Serpell, 2002)
                                                                 GBP and PLC




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Study         Condition         Study Design     Groups-           Results*                Evidence       Dose-response
Number        Treated                            Target                                     Level**       relationship
(author)                                         Doses                                                    demonstrated at
                                                 (mg/d)                                                   doses > 1800
                                                                                                          mg/day?
945-411         DPN               Randomized,      GBP-900        GBP-3600 superior to           B        No
(Gomez-                           open-label       GBP-up to      GBP-900 in reduction                    (trial design does not
Perez,                            study; optional 3600            of final mean weekly                    all for efficacy
2004)8                            dose titration                  pain score compared                     comparisons between
                                                                  to baseline (P)                         various GBP
                                                                                                          dosages)
A945-1008 DPN                     Randomized,      PLC            GBP superior to PLC            A        No
                                  double-blind     GBP-3600       in reduction of final                   (use of a single GBP
                                  study; forced                   mean weekly pain                        dosage and forced
                                  dose titration                  score compared to                       dose titration design
                                                                  baseline (P)                            do not allow for
                                                                                                          establishment of a
                                                                                                          dose-response effect)
* Entries reflect primary efficacy outcomes and outcomes that relate to dose-related differences between groups; P-
primary endpoint; S-secondary endpoint; N-not a prespecified analysis
** A-randomized, double-blind, placebo-controlled trial of good design; B-Cohort study of good design, and randomized,
placebo-controlled trials with mild to moderate design flaws; C-comparative studies, case series, poor-quality cohort
studies, and randomized controlled trials with major design flaws
OL-open label; GBP-gabapentin; PLC-placebo; CBZ-carbamazepine; PHN-post-herpetic neuralgia; DPN-diabetic
peripheral neuropathy




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Section 2. Were marketing materials/practices used by Parke-Davis/Pfizer truthful

and scientifically valid with regard to the efficacy of gabapentin (Neurontin) at

doses above 1800 mg/day?



In this section of the report, I comment upon documents provided to me by Greene &

Hoffman. A list of the documents is contained in Appendix C. For the purposes of

organization and clarity, I have organized the information into one of several categories:

        Planning documents – speak to marketing messages or strategies that are

        discussed internally by Parke-Davis/Pfizer or are planned for possible future

        action

        STEPS – information related to studies 945-193 and 945-200, which were Phase

        IV, post-marketing studies used extensively for promotional purposes and a

        prominent vehicle to deliver the high-dose message

        Advisory board meetings – meetings of health care professionals where

        information on gabapentin was presented by company representatives and by

        physicians from outside of the company (most often, faculty from academic

        institutions)

        Continuing medical education programs and materials – including monographs

        Manuscripts / publications – including draft manuscripts and published reports

        Other materials

In some cases, information may have been appropriate for more than a single category. In

those instances, I selected the heading that seemed to be most relevant to the marketing

activity.


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Planning documents

Internal documents from Parke-Davis/Pfizer indicate that key messages to be delivered

via the Neurontin marketing campaign were: advocacy for high dose therapy, creating the

impression of enhanced efficacy with doses above 1800 mg/day, and that dose titration to

clinical effect constituted a therapeutic trial (i.e., using doses lower than the maximum

tolerated dosage was to reduce the likelihood of therapeutic success). I refer to this as the

“higher dosage / higher efficacy” message. Aggressive sales targets for Neurontin were

promoted and it is clear that promoting the “higher dosage / higher efficacy” message

was a key strategy in meeting sales targets. The prescribing patterns (including number of

prescriptions, and average dose prescribed) of primary care physicians, neurologists, and

anethesiologists/pain specialists were tracked - both, in general and in response to

exposure of these prescribers to the marketing message.

[WLC_FRANKLIN_0000036641 and Pfizer_MYoder_0001022]



In 1995, it was recognized that “[p]hysicians are not titrating to effect”,

[WLC_FRANKLIN_0000036636] and that they were using a “current average daily

dosage [of] 1140 mg/day.” [WLC_FRANKLIN_0000036641] Under the title, “AED

Advisory Board Presentations” (11/8/95), a summary of slides and key messages were

presented for use in Northeastern area advisory board meetings. A presentation by John

Krukar included the promotional message, “[p]ush the dose!” (this statement was later

crossed out and replaced with “titrate to clinical effect”). The typed summary of this

presentation includes the following statements: “[l]abeling recommended too low a dose




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to see efficacy” (this statement is then crossed out); “Average dosage in the U.S. was

1100mg, efficacy usually starts at 1800mg.” (this statement was later crossed out); and

“Most patients controlled on dose between 2400-3600mg” (handwritten). In the dialog to

accompany this slide, the following statements appear, “[w]e recognized that many

physicians did not think Neurontin was very efficacious. After investigating why. [sic] It

because obvious that they were under dosing Neurontin” and “[w]e therefore went on an

aggressive campaign to try to convince the doctors to push the dose of Neurontin up into

the 2400 to 3600mg range.” [WLC_Franklin_0000071342] Performance goals based on

increasing sales, total prescriptions and total prescription share are presented in a separate

document. [WLC_FRANKLIN_0000036652] In 1995, as discussions of the “higher

dosage / higher efficacy” message were prominent, the Neurontin marketing team also

recognized that another key issue was managing product price as the average dose of

gabapentin increases. [WLC_FRANKLIN_0000036672]



The 1996 Epilepsy Business Plan – identified “perceived lack of efficacy for Neurontin”

and “average dose is 1200mg (not titrating)” [WLC_FRANKLIN_0000069527] as

barriers to attaining sales targets. An overview of the 1996 marketing objectives

identified strategy #1 as focusing the “promotional message on titration to higher doses.”

[WLC_FRANKLIN_0000038581] This report emphasized the success of this strategy

with the statement: “the campaign is working” and “neurologists are changing the way

they approach the use of Neurontin‟ and “[p]hysicians are now titrating to higher doses

with 1800mg/day a commonly used dose compared to 1200mg/day a year ago.”

[WLC_FRANKLIN_0000038581]




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In 1997, the strategy to enhance the prescribing of higher doses appeared to become more

direct. The 1997 Neurontin Tactical Plan includes mention of “[h]igh dose meetings”

where the objective is to “[e]ncourage titration to higher doses through peer-to-peer

influence” by drawing upon local speakers to “discuss their personal experience in using

high doses of Neurontin.” [WLC_FRANKLIN_0000112207]



Advocacy for high dose gabapentin therapy remained a marketing focus for many years.

A meeting held on April 4, 2001 in Puerto Rico included a presentation titled, “Dosing

Messages for Improved Efficacy in Pain and Epilepsy: review of the publications and

clinical data supporting “Start fast, go high” [Pfizer_LKnapp_0023336] presented by

Angela Crespo (Senior Marketing Manager, Major Markets), David Probert (Marketing,

Major Markets) and Robert Glanzman, MD (Medical Director, Neurontin). The

perception was that Neurontin was a safe but ineffective drug for epilepsy and that

“[c]onfusion over how to dose is partly responsible („starting too slow, stopping too

low‟).” [Pfizer_LKnapp_0023339] The key marketing dosage messages included

“[t]itrate up to 3600 mg/day for greater efficacy” for pain [Pfizer_LKnapp_0023399];

and “[t]itrate up to 3600 mg/day for greater efficacy” for epilepsy

[Pfizer_LKnapp_0023401]



Thus, promoting the use of doses up to 3600 mg/day was a primary goal of the marketing

campaign. As is outlined in Section 1 of this report, this message is in direct conflict with

the highest quality evidence, both in epilepsy and in pain conditions, regarding the dose-




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response effect of gabapentin. Pfizer also recognized the uphill battle it faced with regard

to proposed labeling changes that would emphasize the use of gabapentin doses up to

3600 mg/day. In an e-mail from Drusilla L. Scott, Ph.D. (Worldwide Regulatory Affairs,

Pfizer) to Pfizer representatives participating in an upcoming meeting with the FDA

regarding Neurontin labeling, Dr. Scott identified “dose response (or perceived lack

thereof)” (note, this is Pfizer wording) as a “big ticket” item. In the message, Dr. Scott

goes on to ask, “[i]s there any way to get an efficacy-related statement re 3600 mg? [FDA

has allowed a safety statement and has not removed anything from the preclinical section

on 3600 mg/day as the maximum dose].” [Pfizer_MYoder_0000655] As is discussed in

Section 1 of this report, the FDA denied any mention of improved efficacy with

gabapentin at dosages above 1800 mg/day.



In summary, the fundamental marketing message – that, higher doses (above 1800

mg/day) are necessary for greater efficacy – was misleading (it advocated a dose-

response relationship for which there was no strong, scientifically sound, evidence) and

incomplete (it de-emphasized randomized controlled trial data that did not support the

message, as well as FDA judgment regarding the lack of increasing efficacy above 1800

mg/day).



STEPS

The Neurontin STEPS study, described in Section 1, was used in at least two unique and

separate ways as a promotion vehicle for Neurontin: 1) the study itself was used as a

technique to increase physician prescribing of Neurontin in their clinical practices, and to




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reward them financially for doing so; and 2) the results of the study were used very

broadly to promote several Neurontin marketing messages – primary among them the

message of enhanced efficacy with higher doses (above 1800 mg/day). The marketing

intent of the study is suggested by the statement “[t]he purpose of the STEPS trial is to

give neurologists the opportunity to titrate to higher doses (>1800 mg) when needed.”

[WLC_FRANKLIN_0000052176] Of course, neurologists already had the opportunity to

use a wide range of Neurontin doses because the drug had been introduced to the U.S.

market prior to the STEPS study. Physicians were paid $300 per enrolled subject

(payable upon receipt of completed study documents) [WLC_FRANKLIN_0000093580]

and selected centers were “offered” larger or smaller numbers of enrollments, apparently

based on their influence in their local area. For example, document

WLC_FRANKLIN_0000069350 lists specific centers/physicians who, it is suggested, be

“offered 50 patients for $15,000.00 trial”. This document lists Dr. Linda Brown as a

potential participant whose “influnece [sic] is vast” and who is “also influenced by these

kinds of studies.” [WLC_FRANKLIN_0000069352] An additional $50 was offered to

physicians for each patient who continued on Neurontin at the end of the 16-week study

(and for whom follow-up data were provided). [WLC_FRANKLIN_0000093580]

Physicians who were exposed to STEPS study discussions and the higher dosage titration

message were tracked with regard to their Neurontin prescribing practices (pre-exposure

and post-exposure to the message). There was “a 38% increase in the number of

prescriptions written in May by the 418 doctors, when compared to February

prescriptions written by the same group of physicians when compared to February

prescriptions written by the same group of physicians” and “[a] 10% increase in the




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average milligrams per day written by the 418 physicians.”

[WLC_FRANKLIN_0000039745]



Although the primary outcome parameters of the STEPS study were related to safety and

tolerability, it was the efficacy and putative dose-response outcomes that often received

attention in presentations, slides, publications and monographs. The Autumn 1997 issue

of STEPS NEWSline [WLC_FRANKLIN_0000130292] highlights the efficacy analysis

of the STEPS study on the front page (bold, large font). Safety and tolerability analyses

are presented on subsequent pages. Efficacy responses included “% Seizure-Free:

46.35%”, and “50% Responder Rate: 76.05%”). As an epilepsy specialist, I do not

know of any high-quality antiepileptic drug trials, used in subjects with medically

refractory partial-onset seizures, that have approached the seizure free and responder

rates quoted in this report. Thus, it is highly likely that these results were of interest to

prescribers. The limitations of the STEPS study design for determining efficacy (open-

label design, lack of a control group, non-random assignment to different gabapentin

dosage levels) are not addressed in this report. The relationship between Neurontin dose

and efficacy was also highlighted on the first page of STEPS NEWSline – increasing

cumulative seizure free rates and percent responder rates are shown with increasing

Neurontin dosage from <900 to <1200 to <1800 to <2400 to <3600 mg/day. There are

numerous speakers bureau lectures and trainings that include similar “higher dosage /

higher efficacy” messages (see WLC_CBU_164418 and MDL-Vendors_064554).




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One particular analysis of efficacy that was included on page 7,050 of the STEPS

research report [RR 995-00057] – but was not highlighted in STEPS NEWSline report, or

any other promotional materials that I reviewed - was the comparison between the <1800

mg/day and >1800 mg/day groups in the STEPS study. The percentage change in seizure

frequency from baseline was higher in the lower dosage group (-71%) as compared to the

higher dosage group (-49%). No statistical comparison was made. Of course, it may be

that patients who had more refractory epilepsy (and more frequent seizures) were those

who were titrated to higher doses of Neurontin via the “optional dose titration” design;

but, the fact that this outcome (which paralleled the <1800 mg/day and >1800 mg/day

comparisons made in the safety and tolerability analyses) was not highlighted,

demonstrates the biased approach to selective outcome reporting that was commonplace

throughout the years that the STEPS study was used as a marketing vehicle.



In 2001, Pfizer was notified by the FDA that a regulatory review had uncovered

misleading claims for Neurontin related to another open-label study (the NEON study)

that highlighted quality-of-life (QOL) outcomes. The FDA‟s objection to the claims of

improved quality of life was that “NEON is not considered to be substantial evidence for

claims of QOL improvements because it is not a controlled study.” The FDA

recommended immediate discontinuation of this message. [Pfizer_LCastro_0039757]

While this violation of the Federal Food, Drug and Cosmetic Act and applicable

regulations was unrelated to the STEPS study, the parallels between NEON and STEPS

are obvious and were acknowledged promptly by Pfizer in an internal document.

[Pfizer_LCastro_0006583 and Pfizer_LCastro_0006584] The claims of enhanced




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efficacy with higher dosages of Neurontin from the STEPS study - made by Dr. McLean

and others in numerous advisory board meetings, CME programs, and publications (as

will be shown below) - were: 1) not included in the product labeling (and, indeed, were

explicitly forbidden); 2) not supported by randomized controlled trials; and 3) not

supportable by the STEPS study design. In an email message from Lucy Castro (Pfizer)

to John Wolleben (Pfizer) it is stated (in the context of a discussion of the FDA‟s Notice

of Violation cited above, „[m]aterial currently being used contain information (QoL,

efficacy & tolerability) based on another open label study – STEPS (this is data Andrea

and I spoke to you about several months). We feel it presents the same risk as the use of

NEON data and would like to remove the data from the next POA materials – particularly

the QoL and efficacy data. Unfortunately, all of our promotional materials are based on

these two studies. Without these data, we only have the pivotal data for promotion and

that data is weak.” [Pfizer_AGarrity_0002142] An e-mail message from Rick Birch,

Senior Vice President (Pfizer) to the RON Specialty Sales Force ask individuals to

“destroy any promotion materials containing reference to NEON or STEPS QOL data,

including....[the] STEPS Slide lecture kit.” [Pfizer_LCastro_0006149]



Advisory board meetings

The reviewed documents suggest that professional advisory board meetings, held

frequently from 1995 to 2000, were intended as a promotional vehicle for gabapentin and

that guest speakers from academic medical centers delivered the “higher dosage / higher

efficacy” message that was prioritized by the Neurontin marketing team. Statements




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made by Dr. Michael McLean with regard to dosages above 1800 mg/day consistently

reference small case series, uncontrolled studies, and clinical experience:



       “Handforth and Treiman (1994) reported gradual achievement of complete

       seizure control with up to 2400 mg of GBP per day in 5 of 6 patients over 12-18

       months. Thus, control may improve as a function of time on a given dose”

       (December 15-17, 1995 / New York). [WLC_FRANKLIN_0000164772]

       “[T]he STEPS study data also demonstrate that efficacy increased as the dosage

       of Neurontin increased, without signs of a plateau”

       [WLC_FRANKLIN_0000177167] (May 15-19, 1998 / Ritz-Carleton Hotel,

       Montreal)

       “In terms of efficacy as add-on therapy, as you go to higher doses, you get better

       results, especially up at 3600mg/day.” [WLC_CBU_175609] and “[t]itrate to

       effect up to 3600mg/day (tolerable and safe) or until limiting side effects appear.”

       (April 12, 2000 / Houston, Texas) [WLC_CBU_175610]

       ”The usual dose range is about 900-4800 mg/day” [MDL_Vendors_057669]

       “Low doses lead to low efficacy”. (April 13, 2000 / St. Louis, Missouri)

       [MDL_Vendors_057668]

       “You must titrate to effect on an individual basis”. “What is an adequate trial to

       make gabapentin work? Titrate to effect. Go up to at least 3600 mg/day or find the

       limiting side effect.” (April 13, 2000 / St. Louis, Missouri)

       [MDL_Vendors_057672]




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       “When to stop? You should stop when it doesn‟t work after you conduct an

       adequate trial up to 3600 mg/day without achieving desired efficacy.” (April 13,

       2000 / St. Louis, Missouri) [MDL_Vendors_057672]



In other advisory board meetings, Dr. Ahmad Beydoun also delivered the “higher dosage

/ higher efficacy” message:

       The “[u]sual range for refractory patients is 1800-4800 mg.” (12/1/99, Houston

       Texas) [WLC_CBU_175638]

       “I started out way too low a while ago, but am now comfortable with 3600-4800

       mg.” and “[f]or epilepsy add-on therapy, I use 1800-7200 mg depending on

       tolerance; in pain, 200-8000 or 10,000 per day. There‟s no average dose.”

       (3/15/2000, Denver Colorado – during a question & answer session)

       [WLC_CBU_164380]



Thus, the clear and unambiguous message is that there is enhanced efficacy as dosages

are increased above 1800 mg/day. However, no randomized, controlled studies support

this message and no high quality (e.g., fixed-dose) dose-response studies were conducted

to directly address differences in efficacy for dosages between 1800 mg/day and 3600

mg/day. Thus, the message is incomplete and misleading.



Continuing medical education programs and materials

Many continuing medical education (CME) events were sponsored by Parke-Davis/Pfizer

with a focus on Neurontin usage. One such education program was “Management of




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Neuropathic Pain Syndromes” – a continuing medical education program published as a

supplement to Neurology Reviews, and sponsored through an unrestricted educational

grant from Parke-Davis. [WLC_CBU_076620] In the monograph titled, Postherpetic

Neuralgia, Dr. Charles E. Argoff (who discloses grant or research support from Parke-

Davis and participation on the speakers bureau for Parke-Davis [among other

affiliations]), writes “[i]t is important not to underdose gabapentin when managing PHN;

the average maximally effective dose in the recently published controlled trial was 3,600

mg (with an average participant age of over 70). In practice, I have seen many patients

who were told to stop gabapentin due to apparent lack of efficacy at doses of 1,800 mg or

less. The available data strongly suggests that this is not appropriate, absent significant

side effect.” Dr. Argoff references this last statement with the published study of

Rowbotham, et al.15 (945-211), which was a placebo-controlled study that compared a

single dosage of gabapentin (3600 mg/day, via a forced titration design) against placebo.

As the study could not establish the efficacy of gabapentin at any dosage lower than 3600

mg/day, these statements from the monograph are incorrect (the Rowbotham paper does

not demonstrate that 1800 mg/day is less effective than 3600 mg/day), and misleading

(the implication is that one must titrate to 3600 mg/day for maximal efficacy).



Teleconferences, in which a guest speaker presented information on a Neurontin-related

topic, appear to have been a significant part of the CME/marketing strategy. I reviewed

the post meeting summary reports for 8 teleconferences held in the Northeastern area

from January 11-21, 1999 that focused on the NEON and STEPS studies. Four CME

teleconferences were delivered by Dr. Ahmad Beydoun; four were delivered by Dr. Jack




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Pellock. The post meeting summary reports emphasized the importance of the “higher

dosage / higher efficacy” message to the company, evaluated the speaker‟s success at

delivering this message effectively, and commented upon the audience members‟

responses to the message:

       The audience “were impressed with the % patients who became seizure free” and

       “[a]lso were impressed that Neurontin could be given at a higher dose (supported

       by Dr. Pellock).” [WLC_CBU_012964] A major message conveyed during the

       teleconference was how it was “important to give adequate does [sic]

       (>1800mg).” [WLC_CBU_012965] Dr. Pellock‟s comments related to Neurontin

       dosage were summarized as “should go to at least 3600 or I do not feel you have

       given the patient an adequate trial... [n]eed to push the dose.” (1/11/99

       teleconference) [WLC_CBU_012966]

       “The one take away seemed to be that they could dose at a higher range than they

       were dosing to date.” In the report author‟s opinion, Dr Beydoun was felt to be a

       “[v]ery good speaker and “there was general commitment to use Neurontin at

       higher doses.” (1/14/98 teleconference – note: the date appears to have been

       1/14/98, but “1/14/98” was typed on the summary report) [WLC_CBU_012968]

       Similar statements regarding the use of high-dose Neurontin therapy are included

       in CME teleconference summaries from 1/18/99 [WLC_CBU_012970], 1/19/99

       [WLC_CBU_012972], 1/19/99 [WLC_CBU_012974], 1/20/99

       [WLC_CBU_012975], and 1/21/99. [WLC_CBU_012977]




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In summary, continuing medical education events and materials were used to promote

and reinforce increased efficacy of Neurontin at dosages above 1800 mg/day. This

message is misleading as it is not supported by high quality evidence. In the case of the

written CME monograph cited above (Postherpetic Neuralgia by Dr. Argoff), the

statement implying that randomized controlled trial data support increasing efficacy with

gabapentin dosages above 1800 mg/day is false. In the case of the teleconference

summary reports, speakers used data from STEPS and NEON (post-marketing,

uncontrolled studies not designed to establish a dose-response relationship) to give

participants the impression that efficacy increases as gabapentin dosages are increased

beyond than 1800 mg/day – when high quality trial data and product labeling did not

support such claims. Thus, the message was misleading and incomplete.



Manuscripts / publications

The publications reviewed in Sections 1 and 2 of this report include those cited in the text

and Table 1 (above), as well as selected draft manuscripts and publications provided by

Greene & Hoffman (cited in Appendix C). Of the manuscripts/publications reviewed, the

ones highlighted here are those that deliver misleading and/or incomplete messages

related to the efficacy of gabapentin at doses above 1800 mg/day.



The International Congress and Symposium Series (#241 - Royal Society of Medicine

Press) published the proceedings of a symposium sponsored by Parke-Davis in

Montreaux, Switzerland (4 June 1999). Dr. Michael McLean‟s paper, titled “Management

of convulsive disorders with the newer antiepileptic drugs: current review” (pages 5-22)




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reviews the results of meta-analytic studies comparing the efficacy results of randomized,

placebo-controlled trials with various antiepileptic drugs. However, he also states that

„[t]he studies that led to gabapentin‟s approval were performed at doses that are now

considered to be too low” and “[h]owever, in the hands of physicians willing to use high

doses - >3600 mg, well described in the literature – greater efficacy can be obtained.”

[MCLEAN 0003882]



In a draft version of a chapter authored by Dr. McLean for Elaine Wylie‟s epilepsy

textbook (labeled Wyllie Chapter 290200) [MCLEAN 0012596], there are no less than 8

mentions of higher dose gabapentin therapy, including:

       “In the open-label extension, 3600 mg/day or more was necessary to sustain

       success as monotherapy” [MCLEAN 0012610] It is noteworthy that the

       randomized, double-blind portion of this trial (945-82) demonstrated no

       significant difference between 600, 1200 and 2400 mg/day. Thus, this statement is

       misleading as the open-label design and the dosing strategy employed (“titrated

       to a maximum tolerated dosage within the range of 600 to 3600 mg/day” [RR720-

       04397]) were insufficient to demonstrate this point.

       “Doses up to 3600 mg/day may be required to benefit patients with seizures

       refractory to one to three antiepileptics...” [MCLEAN 0012615]

       “Achieving maximal efficacy may require trying doses of 3600-4800 mg/day in

       divided doses” [MCLEAN 0012616]

       “The package insert includes 3600 mg/day as effective and tolerable in short term

       use”. [MCLEAN 0012616]




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These statements are misleading, as they are not supported by high-quality dose-response

studies, and they neglect any mention of the following statement from the Neurontin

package labeling: “[a]dditional benefit of using doses greater than 1800 mg/day was not

demonstrated”. [Pfizer_MYoder_0000843]



Parke-Davis/Pfizer appears to have played a significant role in the development of

specific publications to promote the use of higher doses of Neurontin. Two such

manuscripts - published in the journal, Clinical Therapeutics - were developed in

collaboration with Medical Action Communications – a medical writing firm employed

by Parke-Davis/Pfizer. In an e-mail exchange (August 2001) between Stephen Valerio

(Medical Action Communications), Angela Crespo (Senior Marketing Manager,

Neurontin, Major Markets), and Allison Fannon (Pfizer) potential authors for “both

dosing papers” are discussed. Dr. Michael McLean is mentioned as a potential author

along with statements:

       “he is so pro-Neurontin perhaps he can do it”

       “[i] am sure he will support out claim” (Angela Crespo, Pfizer)

       “I know Dr. McLean is an advocate of higher doses, and he is able to deliver a

       good message on why and how Neurontin should be used at higher doses”

       (Stephen Valerio, MAC). [Pfizer_RGlanzman_0133529]

However, there appears to be some hesitancy to use Dr. McLean because of his close

relationship to Pfizer... “I understand your concern about Dr. McLean and how much he

speaks for us” and “I would also like to limit Dr. McLean as he does a lot of

speaking/papers for Neurontin.” [Pfizer_RGlanzman_0133528]




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In documents provided to me, it is clear that the marketing messages related to Neurontin

were placed front-and-center (literally and figuratively) in draft publications that were

prepared by Medical Action Communications and sent to “authors” for vetting. For

example, page one of a draft manuscript titled “Neuropathic Pain Dosing Review” lists

the “author” as “Miroslav Backonja (to be confirmed)” and highlights the “key

messages” including: “[g]abapentin doses up to 3600 mg/d have been proven well

tolerated and effective in clinical studies” and “3600 mg/d is the recommended dose for

patients with neuropathic pain.” [Pfizer_LKnapp_0023329] The draft contains a number

of statements that are false:

       ”3600 mg/d (most effective for the majority of patients)” in Table 2

       [Pfizer_LKnapp_0023333]

       A heading titled, “[h]igher gabapentin doses were more efficacious” followed by

       mention of 3600 mg/d as the “dose...most effective for reducing seizure frequency

       in patients with epilepsy”. [Pfizer_LKnapp_0023335]

These statements are not supported by well controlled trials. Furthermore, well-controlled

trials and FDA opinion (in addition to the conclusion of Section 1 of this report)

contradict these marketing messages by demonstrating (or opining, in the case of the

FDA) no greater efficacy in epilepsy and pain at doses greater than 1800 mg/day. It

appears that some of these messages were toned down in subsequent drafts. The

published neuropathic pain dosing manuscript appeared in Clinical Therapeutics (2003)18

– and it did include mention of the only randomized, controlled study that generated

efficacy data from groups assigned 1800 mg/d or more in a fixed-dose trial design for




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neuropathic pain (945-295). As shown in Section 1 of this report, this trial found

essentially identical responder rates for gabapentin 1800 mg/day and 2400 mg/day (32%

and 34%, respectively; no statistical comparison performed). Nonetheless, the

neuropathic pain dosing paper recommends that gabapentin be increased to 1800 mg/day,

and “titrated up to 3600 mg/d as required over the following weeks to achieve a maximal

response with good tolerability.” The association of “3600 mg/day” with “maximal

response” is misleading; as is the implication that response improves throughout the 1800

to 3600 mg/day range of gabapentin dosages.



Another draft manuscript prepared by Medical Action Communications was tentatively

titled “Epilepsy Dosing Review.” Again, the marketing message related to gabapentin

dosing appeared on page one: “[t]itrating up to 3600 mg/day is recommended for those

able to tolerate this dose, since 3600 mg/day has better efficacy than lower doses.”

[MAC_E_0026756] Section 3 of this draft is titled “[e]ffective maintenance doses for

gabapentin” and it discusses both randomized, controlled trials and open-label

uncontrolled trials. The summary points for this section include the statements:

       “[h]igher doses were typically more efficacious than lower doses, as expected

       from the trend toward increased efficacy with higher gabapentin doses”

       “[d]oses of 3600 mg/day has better efficacy than lower doses...”

These statements are incomplete, and misleading. To elevate observations from open-

label, uncontrolled studies (that were never meant to address efficacy via valid, pre-

specified study outcomes – e.g., efficacy in the STEPS study) over data from high-quality

randomized fixed-dose comparison studies – is to obfuscate the known dose-response




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relationship for gabapentin. The published manuscript, which appeared in Clinical

Therapeutics (2003)19 and was authored by Michael McLean and Barry Gidal, omits

some of the language in the earlier drafts. However, there are significant inconsistencies

with regard to the published dose message (e.g., [t]he effective dosage range is 900 to

3600 mg/d“ from Table VI on page 1400) and the Neurontin product labeling (“[t]he

effective dose of Neurontin is 900 to 1800 mg/day...”).20



Other materials

Medi-Fax Express Reports were written materials produced by Medical Education

Network and supported by educational grants from Parke-Davis. They were distributed

extensively to neurologists. The Medi-Fax Express Report from the May 6-13, 1995

meeting of the American Academy of Neurology included a subheading on page one:

“EFFICACY OF GABAPENTIN IS INCREASED IN DOSES HIGHER THAN

1800 MG/DAY” (emphasis reproduced from the original document).

[WLC_FRANKLIN_0000041588) Under this subheading, statements attributed to Dr.

Michael McLean are highlighted. These statements suggest that greater efficacy

accompanies the use of gabapentin at doses higher than 1800 mg/day. “It was underdosed

in the initial trials,” according to Dr. McLean.



The Medi-Fax Express Report from the American Academy of Neurology meeting

(March 23-30, 1996) was mailed to 10,000 neurologists in the U.S.

[WLC_FRANKLIN_0000067667]. It includes a subheading: “INCREASED

EFFICACY SEEN WITH GABAPENTIN DOSES ABOVE 2400 MG/DAY”




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(emphasis reproduced from the original document) [WLC_FRANKLIN_0000041546]. In

this section of the report, it is noted that “previous monotherapy trials revealed no

statistical difference in outcome variables in refractory patients randomly assigned to

gabapentin at 600, 1200, or 2400 mg/day.” Dr. Ahmad Beydoun is quoted as saying

“[o]ne of the reasons proposed was that even the 2400 mg/day dose might not be high

enough to control seizures adequately in that refractory population.” The report goes on

to cite seizure reduction rates, and rates of successful conversion to gabapentin

monotherapy with doses of 3600 mg/day (presumably, from open-label study results).

Thus, the report is misleading in that the clinically relevant interpretation of the double-

blind (945-82) trial was omitted (gabapentin was ineffective), and the overall tenor of the

report suggests that 2400 mg/day is too low and that success can be achieved with 3600

mg/day. As shown in Section 1 of this report, there are no high-quality data to support a

dose-response relationship for gabapentin at dosages above 1800 mg/day.




Summary of marketing materials/practices used by Parke-Davis/Pfizer with regard to the

efficacy of gabapentin at doses above 1800 mg/day

From review of the documents cited above, it appears that Parke-Davis/Pfizer and the

Neurontin marketing team gave a high priority to the “higher dose / higher efficacy”

message - and that they effectively engaged numerous avenues of professional education

in order to deliver this message. The intent was to create the impression in the mind of

prescribers that there is enhanced efficacy of gabapentin when dosages above 1800

mg/day are used. Dosages as high as 10,000 mg/day were advocated in company-




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sponsored sessions. Prescribers were encouraged to titrate the gabapentin dosage to effect

and were told that pushing the dosage to 3600 or 4800 mg/day constituted a therapeutic

trial (the implication is that, only then, could optimal efficacy be achieved). Evidence

used to support these claims came from open-label, uncontrolled studies that were not

designed to provide substantial or high-quality evidence of efficacy, or to establish a

dose-related effect of gabapentin at dosages above 1800 mg/day. The FDA acknowledged

this limitation by: 1) refusing to allow the product labeling to include a claim that

dosages of up to 3600 mg/day were effective for epilepsy; and 2) requiring that the

Neurontin product label include the statement, “[a]dditional benefit of using doses greater

than 1800 mg/day was not demonstrated.”



Studies that used gabapentin dosages of 3600 mg/day were either open-label, or were

randomized, forced-titration trials in which investigators increased gabapentin to the

maximum tolerated dosage (regardless of efficacy endpoints). These trial designs were

incapable to demonstrating, with a high degree of certainty, that 3600 mg/day was

superior to 1800 mg/day. Could fixed-dose, parallel group studies using two or more

gabapentin groups above 1800 mg/day have been performed in pain and/or epilepsy?

Yes. Were such trials done? The answer appears to be no. The reasons for this are

unclear – but, certainly, the results of 945-77 and 945-82 in epilepsy - and the results of

945-224 and 945-295 in pain conditions - would not have been encouraging as they did

not demonstrate a dose-related effect for gabapentin at doses above the minimally

effective dose.




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Conclusion

The conclusion is that the marketing materials/practices used by Parke-Davis/Pfizer with

regard to efficacy claims for gabapentin doses above 1800 mg/day were incomplete and

misleading. The studies from which data were presented to support efficacy at doses

above 1800 mg/day lacked scientific rigor; and many presentations of these data were not

balanced by the inclusion of higher quality evidence that failed to support the “higher

dosage / higher efficacy” message. Evidence from the medical literature suggests that

exposure to industry-sponsored conferences can change prescribing behavior in ways that

favor the sponsor‟s products. Thus, the likely effect of the marketing practices/materials

cited above was to increase Neurontin sales, increase Parke-Davis/Pfizer profits, and to

increase the expenditures of payors (including patients).




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       baseline (B) periods divided by the sum of the two frequencies: (T – B)/(T + B)
   3. Intent to treat population includes all patients who were randomized to a study treatment
       and who received at least one dose of study medication.
   4. This aspect of the study was also highlighted in a presentation by Neurontin Medical
       Director, Dr. Robert L. Glazman, in a 2001 marketing meeting – “[p]atients were titrated
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Appendix A – Publications for Brian Alldredge




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Appendix C – List of documents reviewed and provided by Greene & Hoffman

Research Reports

   1.    4192-00446
   2.    430-00124
   3.    720-02801
   4.    720-02816
   5.    720-03495
   6.    720-03497
   7.    720-03675
   8.    720-03779
   9.    720-03849
   10.   720-04130
   11.   720-30154
   12.   724-00134
   13.   995-00057
   14.   PFIZER_LKNAPP_0062214

Marketing Documents

   1.    Janeth Turner-Depo Ex. 22
   2.    Janeth Turner-Depo Ex. 43
   3.    Janeth Turner-Depo Ex. 44
   4.    MAC_E_0020200
   5.    MAC_E_0026142
   6.    MAC_E_0026142
   7.    MAC_E_0026749
   8.    MAC_E_0026749
   9.    MAC_E_0030072
   10.   MCLEAN 0003873
   11.   MCLEAN 0010168
   12.   MCLEAN 0010647
   13.   MCLEAN 0012404
   14.   MCLEAN 0012596
   15.   MCLEAN_0003873
   16.   MCLEAN_0010168
   17.   MCLEAN_0010647
   18.   MCLEAN_0012404
   19.   MCLEAN_0012596
   20.   MDL_VENDORS_057666
   21.   MDL_VENDORS_057687
   22.   MDL_VENDORS_064551
   23.   MDL_VENDORS_079295
   24.   MDL_VENDORS_084471
   25.   MDL_VENDORS_094765
   26.   MDL_VENDORS_114015
   27.   MDL_VENDORS_114068
   28.   MOSES0711-MOSES0744
   29.   PFIZER_AGARRITY_0002142
   30.   PFIZER_AMISHRA_0002767
   31.   PFIZER_AMISHRA_0003997
   32.   PFIZER_AZEUSCHER_0003320
   33.   PFIZER_BPARSONS_0089829
   34.   PFIZER_BPARSONS_0089829
   35.   PFIZER_BPARSONS_0096598



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 36.   PFIZER_BPARSONS_0096598
 37.   PFIZER_BPARSONS_0133840
 38.   PFIZER_CGLOVER_00001291
 39.   PFIZER_DPROBERT_0000206
 40.   PFIZER_DPROBERT_0000206
 41.   PFIZER_DPROBERT_0014874
 42.   PFIZER_DPROBERT_0014874
 43.   PFIZER_JSU_0018730
 44.   PFIZER_JSU_0018730
 45.   PFIZER_JSU_0032011
 46.   PFIZER_LALPHS_0013849
 47.   PFIZER_LALPHS_0013849
 48.   PFIZER_LALPHS_0014014
 49.   PFIZER_LALPHS_0014014
 50.   PFIZER_LALPHS_0059706
 51.   PFIZER_LCASTRO_0001527
 52.   PFIZER_LCASTRO_0004053
 53.   PFIZER_LCASTRO_0004053
 54.   PFIZER_LCASTRO_0005618
 55.   PFIZER_LCASTRO_0005618
 56.   PFIZER_LCASTRO_0006149
 57.   PFIZER_LCASTRO_0006580
 58.   PFIZER_LCASTRO_0011563
 59.   PFIZER_LCASTRO_0011772
 60.   PFIZER_LCASTRO_0012537
 61.   PFIZER_LCASTRO_0039757
 62.   PFIZER_LCASTRO_0078470
 63.   PFIZER_LCASTRO_0085964
 64.   PFIZER_LESLIETIVE_0014606
 65.   PFIZER_LESLIETIVE_0038508
 66.   PFIZER_LKNAPP_0009569
 67.   PFIZER_LKNAPP_0023329
 68.   PFIZER_LKNAPP_0023329
 69.   PFIZER_LKNAPP_0023336
 70.   PFIZER_LKNAPP_0023646
 71.   PFIZER_LKNAPP_0023646
 72.   PFIZER_LKNAPP_0026472
 73.   PFIZER_LKNAPP_0036007
 74.   PFIZER_LKNAPP_0036007
 75.   PFIZER_LKNAPP_0048180
 76.   PFIZER_LKNAPP_0048180
 77.   PFIZER_LKNAPP_0068394
 78.   PFIZER_LLAMOREAUX_0000682
 79.   PFIZER_LLAMOREAUX_0000682
 80.   PFIZER_MPATEL_0146433
 81.   PFIZER_MYODER_0000652
 82.   PFIZER_MYODER_0000814
 83.   PFIZER_MYODER_0000985
 84.   PFIZER_MYODER_0001022
 85.   PFIZER_RGLANZMAN_0096016
 86.   PFIZER_RGLANZMAN_0096016
 87.   PFIZER_RGLANZMAN_0096071
 88.   PFIZER_RGLANZMAN_0096071
 89.   PFIZER_RGLANZMAN_0133526
 90.   PFIZER_RGLANZMAN_0157387
 91.   PFIZER_RGLANZMAN_0157387



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 92.    RELATOR01594
 93.    SH_0036543
 94.    SH_0064559.0093275
 95.    SH_0064559.0093289
 96.    WLC_CBU_004837
 97.    WLC_CBU_012963
 98.    WLC_CBU_012963
 99.    WLC_CBU_076620
 100.   WLC_CBU_079302
 101.   WLC_CBU_086362
 102.   WLC_CBU_092879
 103.   WLC_CBU_115481
 104.   WLC_CBU_164376
 105.   WLC_CBU_164409
 106.   WLC_CBU_164507
 107.   WLC_CBU_175606
 108.   WLC_CBU_175623
 109.   WLC_CBU_175636
 110.   WLC_FRANKLIN_0000033115
 111.   WLC_FRANKLIN_0000036620
 112.   WLC_FRANKLIN_0000038571
 113.   WLC_FRANKLIN_0000039745
 114.   WLC_FRANKLIN_0000041545
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 116.   WLC_FRANKLIN_0000052175
 117.   WLC_FRANKLIN_0000056145
 118.   WLC_FRANKLIN_0000056218
 119.   WLC_FRANKLIN_0000060466
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 125.   WLC_FRANKLIN_0000071334
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 127.   WLC_FRANKLIN_0000080451
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 129.   WLC_FRANKLIN_0000080480
 130.   WLC_FRANKLIN_0000082575
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 135.   WLC_FRANKLIN_0000158566
 136.   WLC_FRANKLIN_0000164694
 137.   WLC_FRANKLIN_0000170453
 138.   WLC_FRANKLIN_0000174950
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 140.   WLC_FRANKLIN_0000177446




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